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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


                                          )
GRACE, et al.,                            )
                                          )
                   Plaintiffs,            )
        v.                                )
                                          )
MATTHEW G. WHITAKER, Acting               )
Attorney General of the United            ) No. 1:18-cv-01853 (EGS)
States, et al.,                           )
                                          )
                    Defendants.           )
                                          )

                                  ORDER

     The Court has considered the parties’ cross-motions for

summary judgment, the memoranda and exhibits in support thereof,

and the briefs in opposition thereto; plaintiffs’ motion to

consider extra-record evidence, defendants’ motion to strike

plaintiffs’ extra-record evidence, and the memoranda in support

or in opposition thereto; oral argument; and the entire record

in this action.

     Accordingly, and consistent with the accompanying

Memorandum Opinion, the Court hereby GRANTS IN PART and DENIES

IN PART plaintiffs’ cross-motion for summary judgment, and

GRANTS IN PART and DENIES IN PART defendants’ motion for summary

judgment.

     This Court hereby:

     1. DECLARES that the following credible fear policies
        contained in Matter of A-B-, 27 I. & N. Dec. 316 (A.G.
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 2018), the USCIS Policy Memorandum, Guidance for
 Processing Reasonable Fear, Credible Fear, Asylum, and
 Refugee Claims in Accordance with Matter of A-B-, July
 11, 2018 (PM-602-0162) (hereinafter “Policy Memorandum”),
 and/or the Asylum Division Interim Guidance – Matter of
 A-B-, 27 I. & N. Dec. 316 (A.G. 2018) (“Interim
 Guidance”), and challenged by plaintiffs, are arbitrary,
 capricious, and in violation of the immigration laws
 insofar as those policies are applied in credible fear
 proceedings:

    a. The general   rule against credible fear claims
       relating to   domestic and gang violence. See Matter
       of A-B-, 27   I. & N. Dec. at 320 & n.1; Policy
       Memorandum,   ECF No. 100 at 9, 12-13.

    b. The requirement that a noncitizen whose credible
       fear claim involves non-governmental persecutors
       “show the government condoned the private actions or
       at least demonstrated a complete helplessness to
       protect the victim.” Matter of A-B-, 27 I. & N. at
       337; Policy Memorandum, ECF No. 100 at 5, 9, 13;
       Interim Guidance.

    c. The Policy Memorandum’s rule that domestic violence-
       based particular social group definitions that
       include “inability to leave” a relationship are
       impermissibly circular and therefore not cognizable
       in credible fear proceedings. Policy Memorandum, ECF
       No. 100 at 8.

    d. The Policy Memorandum’s requirement that, during the
       credible fear stage, individuals claiming credible
       fear must delineate or identify any particular
       social group in order to satisfy credible fear based
       on the particular social group protected ground.
       Policy Memorandum, ECF No. 100 at 6, 12.

    e. The Policy Memorandum’s directive that asylum
       officers conducting credible fear interviews should
       apply federal circuit court case law only “to the
       extent that those cases are not inconsistent with
       Matter of A-B-.” Policy Memorandum, ECF No. 100 at
       11.

    f. The Policy Memorandum’s directive that asylum
       officers conducting credible fear interviews should
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       apply only the case law of “the circuit where the
       alien is physically located during the credible fear
       interview.” Policy Memorandum, ECF No. 100 at 11-
       12.

2. VACATES each of the credible fear policies specified
   in paragraphs 1.a. through 1.f. above. Accordingly,
   the Court PERMANENTLY ENJOINS defendants and their
   agents from applying these policies with respect to
   credible fear determinations, credible fear
   interviews, or credible fear review hearings issued
   or conducted by asylum officers or immigration
   judges. Defendants shall provide written guidance or
   instructions to all asylum officers and immigration
   judges whose duties include issuing or conducting
   credible fear determinations, credible fear
   interviews, or credible fear review hearings,
   communicating that each of the credible fear
   policies specified in paragraphs 1.a. through 1.f.
   are vacated and enjoined and therefore shall not be
   applied to any such credible fear proceedings.

3. VACATES the negative credible fear determinations and any
   expedited removal orders issued to each plaintiff.

4. PERMANENTLY ENJOINS defendants from removing any
   plaintiffs currently in the United States without first
   providing each of them a new credible fear process
   consistent with the Court’s Memorandum Opinion and free
   from the unlawful policies enumerated in paragraphs 1.a.
   through 1.f. above or, in the alternative, full
   immigration court removal proceedings pursuant to 8
   U.S.C. § 1229a. To ensure compliance with this
   injunction, any new credible fear process provided
   pursuant to this paragraph shall be accompanied by a
   written record consistent with 8 U.S.C. §
   1225(b)(1)(B)(iii).

5. FURTHER ORDERS defendants to bring back into the United
   States, at no expense to plaintiffs, any plaintiff who
   has been removed pursuant to an expedited removal order
   prior to this Order and parole them into the United
   States, and provide each of them a new credible fear
   process consistent with the Court’s Memorandum Opinion
   and free from the unlawful policies enumerated in
   paragraphs 1.a. through 1.f. above or, in the
   alternative, full immigration court removal proceedings
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       pursuant to 8 U.S.C. § 1229a. To facilitate such
       plaintiffs’ return to the United States, defendants shall
       meet and confer with plaintiffs’ counsel within 7 days to
       develop a schedule and plan to carry out this portion of
       the injunction. To ensure compliance with this
       injunction, any new credible fear process provided
       pursuant to this paragraph shall be accompanied by a
       written record consistent with 8 U.S.C. §
       1225(b)(1)(B)(iii). Defendants shall work in good faith
       to carry out the relief ordered in this paragraph and
       shall communicate periodically with plaintiffs’ counsel
       until the relief ordered in this paragraph is completed.

     6. FURTHER ORDERS defendants to provide the plaintiffs,
        within 10 days of this Order, with a status report
        detailing any steps defendants have taken to comply with
        this injunction, including copies of all guidance and
        instructions sent to asylum officers and immigration
        judges pursuant to paragraph 2 above. Within 30 days and
        60 days of this Order, defendants shall provide
        plaintiffs with a status report detailing any subsequent
        steps taken to comply with this injunction in the time
        period since the last report, including copies of all
        guidance and instructions sent to asylum officers and
        immigration judges pursuant to paragraph 2 above during
        that time frame.

     The Court GRANTS plaintiffs’ cross-motion for summary

judgment as to their Administrative Procedure Act,

Immigration and Nationality Act, and Refugee Act challenges

concerning each of the policies enumerated in paragraphs

1.a. through 1.f. above, and defendants’ motion for summary

judgment is DENIED as to these same claims. The Court

DENIES plaintiffs’ cross-motion for summary judgment as to

their challenges concerning nexus and discretion, and

defendants’ motion for summary judgment is GRANTED as to

these same claims.
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     Furthermore, consistent with the accompanying

Memorandum Opinion, the Court GRANTS plaintiffs’ motion to

consider extra record evidence with respect to evidence

relevant to plaintiffs’ contentions that the government

deviated from prior policies, as well as evidence relevant

to plaintiffs’ request for injunctive relief. Accordingly,

the following evidence submitted by plaintiffs is admitted

into the record, and defendants’ motion to strike is DENIED

with respect to this same evidence: Decl. of Sarah Mujahid

(“Mujahid Decl.”), ECF No. 10-3, Exs. E-J; Second Decl. of

Sarah Mujahid (“Second Mujahid Decl.”), ECF No. 64-4, Exs.

1-3; ECF Nos. 12-1 to 12-9 (filed under seal); Mujahid

Decl., ECF No. 10-3, Exs. K-Q; Second Mujahid Decl., ECF

No. 64-4, Exs. 10-13; Joint Decl. of Shannon Drysdale

Walsh, Cecilia Menjivar, and Harry Vanden (“Honduras

Decl.”), ECF No. 64-6; Joint Decl. of Cecilia Menjivar,

Gabriela Torres, and Harry Vanden (“Guatemala Decl.”), ECF

No. 64-7; Joint Decl. of Cecilia Menjivar and Harry Vanden

(“El Salvador Decl.”), ECF No. 64-8.

     Because the Court has declined to consider plaintiffs’

due process claim, the Court GRANTS defendants’ motion to

strike with respect to evidence relating to plaintiffs’ due

process claim. Accordingly, the Court will not consider the

following documents relating to plaintiffs’ due process
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claim: Second Mujahid Decl., ECF No. 64-4, Exs. 4-7, 8-9,

14-17, and ECF No. 64-5; and Mujahid Decl., ECF No. 10-3,

Exs. R-T. Plaintiffs’ motion to consider extra-record

evidence as to these same documents is DENIED without

prejudice.

     The Court also GRANTS defendants’ motion to strike

with respect to the Decl. of Rebecca Jamil and Decl. of

Ethan Nasr, and plaintiffs’ evidence motion is DENIED as to

these same documents.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District
          December 19, 2018
